                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                 WESTERN DIVISION
                                          5:21-cv-251
                      Civil Action No. _______________________

 BERINGER COMMERCE, INC. d/b/a
 BLUE ACORN iCi,


                 Plaintiff,

                              v.

 FIN CAP, INC. d/b/a                                    INDEX OF EXHIBITS
 “BLUEACORN.CO,” BLUE ACORN                         TO THE VERIFIED COMPLAINT
 PPP, LLC, BLUE OAK FOREST, LLC,
 MICHAEL S. COTA, JAMES FLORES,
 STEPHANIE HOCKRIDGE REIS, and
 NATHAN REIS,


                   Defendants.


Exhibit A:    Assignment of the Acorn Logo from Blue Acorn, LLC to Plaintiff

Exhibit B:    Marketing Materials Showing Blue Acorn Brand from 2007 – Present

Exhibit C:    Blue Acorn iCi Copyright File Wrapper and Blue Acorn iCi Trademark
Registration Certificate and Status

Exhibit D:    Documents Evidencing Plaintiff’s Publications and Awards

Exhibit E:   Defendant Fin Cap’s Articles of Incorporation and Trade Name Application;
Defendant Blue Acorn PPP’s Articles of Incorporation

Exhibit F:   Customer Complaints Received by Plaintiff and Telephone Logs/Website Activity
      ** contemporaneously sought to have this exhibit filed under seal.

Exhibit G:    Defendants’ Advertisements and Websites Showing Use of Infringing Mark

Exhibit H:    Consumer Complaints Posted Online

Exhibit I:    April 8, 2021 Cease & Desist Letter




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Exhibit J:   Consumer Complaint Submitted with April 8, 2021 Cease & Desist Letter
      **contemporaneously sought to have this exhibit filed under seal.

Exhibit K:   May 12, 2021 Letter to Defendant Fin Cap re Consumer Complaints

Exhibit L:   Consumer Complaints Submitted with May 12, 2021 Letter to Defendant Fin Cap
      **contemporaneously sought to have this exhibit filed under seal.

Exhibit M:    May 17, 2021 Letter to Defendant Fin Cap re Consumer Information

Exhibit N:   Consumer Information Submitted with May 17, 2021 Letter to Defendant Fin Cap
      ** contemporaneously sought to have this exhibit filed under seal.

Exhibit O:   May 26, 2021 Cease & Desist Letter




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